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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                              December 23, 2021
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

LaTORRENCE TORRELL NEWMAN,                       §
                                                 §
        Plaintiff,                               §
                                                 §
vs.                                              §   CIVIL ACTION NO. H-19-352
                                                 §
OFFICER MARFO, et al.,                           §
                                                 §
                                                 §
        Defendants.                              §

                                            ORDER

       State inmate LaTorrence Torrell Newman sued several officials of the Texas Department

of Criminal Justice under 42 U.S.C. § 1983, alleging violations of his civil rights. The court

dismissed all but one of the defendants, and the case remains pending solely as to Lieutenant Reid.

(Docket Entry Nos. 51, 88, 89, 99). The court then appointed counsel to represent Newman in the

proceedings against Lieutenant Reid. (Docket Entry No. 104).

       Newman has now filed a handwritten “Request to Overturn Disciplinary Civil Cases.”

(Docket Entry No. 113). Appointed counsel did not sign or adopt the motion, and it is not clear

that appointed counsel is aware that the motion has been filed.

       A criminal defendant has no constitutional right to be represented “partly by counsel and

partly by himself.” Neal v. Texas, 870 F.2d 312, 315-16 (5th Cir. 1989) (citing United States v.

Daniels, 572 F.2d 535, 540 (5th Cir. 1978)). As long as Newman is represented by appointed

counsel, he may not file motions and pleadings with the court on his own behalf.
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       Newman’s motion to overturn his disciplinary cases, (Docket Entry No. 113), is denied

without prejudice to it being refiled through appointed counsel. Newman is advised that future

pleadings filed on his own behalf while he is represented by appointed counsel will be stricken.

               SIGNED on December 22, 2021, at Houston, Texas.



                                             _______________________________________
                                                          Lee H. Rosenthal
                                                   Chief United States District Judge




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